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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                        *   CRIMINAL NO. 6:16-CR-140


  VERSUS                                          *   JUDGE WALTER


  ANTONIO BOYD (03)                               *   MAG. JUDGE WHITEHURST

                REPORT AND RECOMMENDATION ON
 FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration

 of Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea

 hearing and allocution of the defendant on September 19, 2017. Defendant was present with

 his counsel, Marci Landry Blaize.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned

 that the defendant is fully competent, that his guilty plea to Count One of the Indictment is

 knowing and voluntary, and that his guilty plea is fully supported by a written factual basis for

 each of the essential elements of the offense.

        Therefore, the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Antonio Boyd, in accordance with the terms of the

 plea agreement filed in the record of these proceedings, and that Antonio Boyd be finally

 adjudged guilty of the offense charged in Count One of the Indictment.
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       The defendant has waived his right to file an objection to the Report and

 Recommendation.

       THUS DONE AND SIGNED in chambers at Lafayette, Louisiana this

 11th day of October, 2017.
